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                                        U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      September 30, 2019

By ECF

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Gordon Freedman, 18 Cr. 217 (KMW)

Dear Judge Wood:

        Trial in the above-captioned matter is scheduled to begin on November 4, 2019. Earlier
today, the defendant submitted a request that the Court employ a written jury questionnaire in
conducting voir dire in this matter; the defendant also submitted a proposed questionnaire (the
“Proposed Questionnaire”), which is more than forty pages long and includes more than eighty
questions, covering a wide variety of subjects. The defendant proposes having three hundred
jurors complete the Proposed Questionnaire one week before trial. The defendant then proposes
that the Court question any potential jurors about whom there are disputes as to dismissal for
cause, after which the parties exercise their peremptory challenges, such that the list of jurors and
alternates to be seated is finalized on the Thursday before the trial is to begin. The Government
write in opposition to the defendant’s request that the Court employ a written jury questionnaire.
For the reasons set forth below, the use of such a questionnaire in this case is both inefficient and
unnecessary.

        “Voir dire helps the trial court and the parties identify those persons who, for various
reasons, cannot evaluate the evidence impartially or follow the court’s legal instructions.”
United States v. Quinones, 511 F.3d 289, 299 (2d Cir. 2007) (citing Rosales-Lopez v. United
States, 451 U.S. 182, 188 (1981)). “[I]t has long been the rule that ‘judges have been accorded
ample discretion in determining how best to conduct the voir dire[.]’” Quinones, 511 F.3d at
299 (quoting Rosales-Lopez, 451 U.S. at 189).

       The Second Circuit has noted that this discretion necessarily involves crafting, and, as
appropriate, limiting the questions to be posed to potential jurors, even where counsel may seek
more extensive questioning:

               [F]ederal trial judges are not required to ask every question that
               counsel—even all counsel—believes is appropriate. Court and
               counsel have somewhat different goals in voir dire. The court wants
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               a fair and impartial jury to be chosen and to move expeditiously to
               the presentation of evidence. Counsel want a jury favorable to their
               cause—fair or not –and voir dire aids them in exercising peremptory
               challenges and challenges for cause. Counsel have an additional
               purpose in voir dire moreover and that involves exposing jurors to
               various arguments they intend to make at trial. Counsel view voir
               dire as an opportunity for advocacy similar to, albeit not the
               equivalent of, openings or summations. This additional purpose has
               led to a long struggle between bench and bar…in which the bar has
               sought the right to question jurors at great length. Thus far, federal
               courts have successfully resisted such attempts.

United States v. Lawes, 292 F.3d 123, 128 (2d Cir. 2002); see also United States v. Tomero, 486
F. Supp. 2d 320, 324-25 (S.D.N.Y. 2007) (rejecting the defendant’s request for use of a jury
questionnaire in “the event an anonymous jury is empaneled” because the court deemed a written
questionnaire “unnecessary” in light of the fact that the defense would have “‘ample opportunity
to suggest areas of inquiry for voir dire” such that they “‘should have no problem in assessing
the possible bias of prospective jurors.’”) (quoting United States v. Scala, 405 F. Supp. 2d 450,
454 (S.D.N.Y. 2005).

        Courts in this district have, typically, utilized written questionnaires in cases in which a
large number of prospective jurors might need to be screened, whether because of the difficult or
high-profile nature of the case, see, e.g., United States v. Rahaman, 189 F.3d 88, 121-22 (2d Cir.
1999) (discussing the use of a written jury questionnaire in the trial of individuals charged with,
among other things, providing support to the individuals responsible for the 1993 World Trade
Center bombing), as a result of the decision to empanel an anonymous jury, see e.g., United
States v. Thai, 29 F.3d 785, 800-01 (2d Cir. 1994) (discussing the use of a written jury
questionnaire in selecting an anonymous jury as a result of, among other things, two defendants
having threatened and killed a civilian witness), in cases involving extensive pre-trial publicity,
see, e.g., United States v. Stewart, 433 F.3d 273, 303-04 (2d Cir. 2006) (discussing the use of a
written jury questionnaire in the criminal trial of Martha Stewart), and in capital cases, see, e.g.,
Quinones, 511 F.3d at 299-300 (discussing the use of a written jury questionnaire in a case in
jurors were asked to deliberate, following a penalty phase, as to whether or not to impose the
death penalty). See Quinones, 511 F.3d at 299 (discussing precedents for the use of written
questionnaires). Indeed, for the most part, the cases cited by the defendant involved domestic
terrorism and trials that generated intense media interest. See Def. Ltr. at 3-5.

        The trial of the defendant simply does not present the complex issues posed by jury
selection in the cases in which courts in this district have taken the exceptional step of employing
a written jury questionnaire. The evidence presented to the jury at trial will relate to the payment
of kickbacks by Insys Therapeutics, Inc. (“Insys”) in exchange for the defendant prescribing
Subsys, a sublingual fentanyl spray. None of this subject matter is so inherently inflammatory or
unusual that it should necessitate screening an unusually large number of jurors. The defendant
argues, primarily, that the potential for jurors to have “personal experience with opioid use,
addiction, or even a fatality,” necessitates the use of a written questionnaire. See Def. Ltr. at 2.
But the mere fact that this case involves the abuse of opioids—the subject of numerous trials in
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this district each year—does not require more extensive screening than in any of those other
cases. Indeed, a written jury questionnaire was not employed at the recent trial of Dr. Ernesto
Lopez before the Honorable Denise Cote. Dr. Lopez was accused of prescribing thousands of
medically unnecessary prescriptions for oxycodone and Subsys – the same narcotic that is at-
issue in this case. See United States v. Lopez, 18 Cr. 006 (DC). Of course, the Court can, and
should, pose oral questions in conducting voir dire that will help to identify any jurors who may
be biased as a result of personal experience, but there is nothing so unusual about the subject
matter of the evidence presented here to render such oral questioning insufficient to ensure a fair
and impartial jury.

         The defendant also suggests that media coverage may bias the jury, such that a written
questionnaire is needed. See Def. Ltr. at 1-2. While there has been some media coverage of this
and other related cases – in particular, the trial of executives from Insys Therapeutics, Inc. that
occurred in the United States District Court for the District of Massachusetts earlier this year –
the volume of that coverage is a far cry from the level that necessitated the use of a written jury
questionnaire in cases like Stewart, 433 F.3d at 303-04, and Rahaman, 189 F.3d at 121-22.
Indeed, recent media coverage of this case makes clear that while there is some media interest in
this matter, the level of anticipated media coverage will not be out of the ordinary for a criminal
trial in this District. For example, the recent guilty plea of co-defendant Jeffrey Goldstein was
covered in a legal trade journal predominantly read by attorneys and in a short article in Reuters,
but did not otherwise receive any extensive media coverage. Media coverage of the guilty pleas
of the other co-defendants in this case has been similarly limited. To the extent the defendant is
instead suggesting that media coverage about opioid use in general would bias the jury, he has
failed to articulate why that coverage would uniquely bias the jury in this case—as opposed to in
any case involving opioid abuse—such that oral voir dire would be insufficient. Indeed, it is
notable that the defendant does not point to a single opioid-related case in which a written jury
questionnaire was employed.

        For the reasons set forth above, the use of the Proposed Questionnaire is unnecessary in
this case and would serve only to add an inefficient and cumbersome layer to the jury selection
process. Instead, typical voir dire procedures, including detailed oral questioning of potential
jurors, will best accomplish the goals of selecting “a fair and impartial jury” and “mov[ing]
expeditiously to the presentation of evidence.” See Lawes, 292 F.3d at 128; Tomero, 486 F.
Supp. 2d 320, 324-25. Accordingly, the defendant’s motion for the use of a written jury
questionnaire should be denied. The Government intends to submit proposed voir dire, in
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consultation with defense counsel, on October 21, 2019, as directed by the Court in its
September 27, 2019 Order.


                                               Respectfully submitted,

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